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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
MKM:MRG                                             271 Cadman Plaza East
F. #2018R02189                                      Brooklyn, New York 11201



                                                    September 29, 2022

By E-mail and ECF

The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


                      Re:    United States v. Anthony Pandrella
                             Criminal Docket No. 19-122 (MKB)

Dear Chief Judge Brodie:

                The government respectfully submits this letter memorandum in advance of
the sentencing of defendant Anthony Pandrella on October 5, 2022. Following a two-week
trial, a jury convicted the defendant of murdering his close friend, Vincent Zito, by shooting
him execution-style in the back of the head from close range in Zito’s own home. To this
day, the defendant refuses to take responsibility for his actions, let alone express remorse for
the victim or his family. For these reasons, and the additional aggravating factors set forth
below, the Court should sentence the defendant to the advisory Guidelines range of life
imprisonment.

I.     Background

               On June 13, 2022, the defendant was convicted, following trial, of Hobbs Act
robbery, in violation of 18 U.S.C. § 1951(a) (“Count One”), unlawful use, brandishing and
discharge of a firearm, in violation of 18 U.S.C. § 924(c) (“Count Two”), and causing death
through use of a firearm, in violation of 18 U.S.C. § 924(j) (“Count Three”). At trial, the
government called 28 witnesses and introduced evidence including but not limited to DNA
evidence, surveillance video evidence, crime scene photographs, cell-site evidence, ballistics
evidence, telephone toll records, text messages, financial records, and expert testimony relating
to the autopsy of murder victim Vincent Zito. The facts set forth below are taken from testimony
and evidence introduced at trial and are consistent with the facts set forth in the United States
Probation Department’s (“Probation”) Presentence Investigation Report, dated August 25, 2022,
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the First Addendum, dated September 8, 2022 and the Second Addendum, dated September 12,
2022 (collectively, the “PSR”).

       A.     The Offense Conduct

               As proven at trial, on October 26, 2018, the defendant entered the house of
Vincent Zito, his close friend of many years. While inside, the defendant shot Zito in the
back of the head at close range to avoid returning a sum of money he was holding for Zito
and, in addition, robbed Zito of luxury watches, the assets of Zito’s loansharking business.
Zito was 77 years-old and ill at the time of his death. Zito’s body was discovered by his 11-
year-old grandson.

                Following the murder, the defendant then began a cover-up, systematically
getting rid of evidence that might tie him to the crime. He even came back to the murder
scene that same night to sit with the Zito family’s friends and relatives, feigning sympathy, to
learn what he could about the investigation before returning home to, again, remove potential
evidence of his crimes from his car.

              1.      Events Prior to the defendant’s Robbery-Murder of Vincent Zito

               In 1972, Vincent Zito was convicted of conspiracy to collect extensions of
credit through extortionate means. Zito ceased operating as a loan shark for some time
before reengaging in that business. In the years prior to his death, Vincent Zito was a loan
shark and had a loansharking business, although he planned to wind down his business
operations. Vincent Zito generally had a lot of cash on hand at his home and, by the summer
of 2018, he also had luxury watches that had been posted as collateral by a loan customer. 1
In order to keep his business and his family safe, Zito kept a gun close by and he had his
friend and neighbor, who testified at trial, install a video surveillance system.

               By 2018, at the age of 77, Vincent Zito’s health was failing, and he was
slowing down. In the summer of 2018, he was in the hospital on multiple occasions. He had
only a few loan customers left, several of whom testified at trial. And—using profits from
his loansharking business—he even let some of his close friends borrow money without
paying interest. Vincent Zito spoke to trial witnesses about getting out of the business,
selling his house, and moving away from Brooklyn. He also spoke to trial witnesses about
moving to New Mexico to be near his two daughters.



       1
               Vincent Zito’s loansharking business operated in cash and affected interstate
commerce. In addition, money from Zito’s loansharking business was used to support
businesses that purchased supplies interstate, needed to make payroll, and otherwise used
Zito’s loans to help those interstate businesses operate.




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              During this time, Vincent Zito maintained a close relationship with the
defendant. Vincent Zito relied on the defendant, including by asking him, at times, to hold
cash from the loansharking business. In addition, Zito indicated that, if he moved out of
town to live with his daughters, Pandrella would collect the outstanding debts of the
loansharking business.

              About a year before the murder, the defendant told Vincent Zito that Zito was
“hot,” meaning under scrutiny by law enforcement. As a result, Vincent Zito gave the
defendant a large sum of money, approximately $750,000, to hold for safekeeping.
However, when Vincent Zito asked for the money back, the defendant either could not or
would not give it back. Vincent Zito told several individuals that the defendant had taken
approximately $750,000. Zito was angry about the missing money and demanded it back.

              2.      The Night of the Robbery-Murder

               On October 26, 2018, the defendant went to Vincent Zito’s home at 8:10 a.m.
Zito was expecting the defendant to return at least a portion of the $750,000 that the
defendant owed him. While inside, the defendant shot Zito at close range in the back of the
head and stole the expensive watches that had been posted as collateral for a $50,000 loan
from Zito. There were no defensive wounds or any other evidence of a struggle. The
defendant left Zito’s house with the watches at 10:22 a.m. For the remainder of the day, the
defendant sought to cover-up the crimes and eliminate evidence that might link him to the
crimes, including from his clothing and the floormat of his car. The defendant came back to
the murder scene that night to sit with the Zito family’s friends and relatives to learn what he
could about the investigation before returning home to, again, remove potential evidence of
his crimes from his car.

              3.      The Defendant’s Post-Murder Conduct and Obstruction

               As established at trial (e.g., Tr. 172-73, 1085-86), in an effort to cover up his
crimes, the defendant repeatedly lied when interviewed by law enforcement prior to his
arrest. Specifically, on November 10, 2018, prior to the defendant’s arrest, the defendant
was interviewed by the Federal Bureau of Investigation (“FBI”). During that interview, the
defendant told the FBI that he (the defendant) went to Nora’s Bar from 11:30 a.m. to 12:00
p.m. and returned to Nora’s a second time later that afternoon. The defendant further stated
that he received a telephone call from John Maffeo at approximately 3:30 p.m. and that
Maffeo told the defendant that Vinny Zito was shot in the head. However, Maffeo testified,
consistent with phone records admitted at trial, that Maffeo called the defendant and said:
“Vinny’s dead, did you hear anything, and he’s like, no. And then he said, I’ll call you back,
and I never heard anything.” Maffeo testified that he did not tell the defendant how Vincent
Zito had died because, at the time of Maffeo’s call with the defendant, Maffeo did not know
how Vincent Zito had died.

              On November 12, 2018, the defendant stated to the FBI that he went to Nora’s
bar between approximately 11:30 a.m. and 12:00 p.m. for lunch and then went home and
sometime later in the afternoon returned to Nora’s bar. In fact, the defendant only went to

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Nora’s once on the day of the murder. As demonstrated by cell-site evidence and expert
testimony at trial, between 11 a.m. and 1:00 p.m.—the time the defendant stated he was at
Nora’s—the defendant was in fact driving along the Belt Parkway to a property owned by his
associate, George Lombardozzi. (Tr. 949-953.)

       B.     Relevant Uncharged Criminal Conduct

              The information set forth below is accurately reflected in the PSR.

              1.     The Defendant’s Association with the Gambino Crime Family

              The defendant is a long-time associate of the Gambino crime family. As early
as 2002, the defendant, attended meetings of the crew of Gambino captain Daniel Marino 2
and Gambino soldier George Lombardozzi 3 at and around restaurants in Manhattan, New
York. At those meetings, Gambino crime family members and associates came to pay tribute
to Marino and Lombardozzi.

                More recently, leading up to the time of the robbery and murder in 2018, the
defendant remained in close contact with Lombardozzi. Among other things, telephone
records show that the defendant spoke to Lombardozzi just over an hour after the robbery
and murder of Vincent Zito on October 26, 2018. As described below, cell-site records
admitted at trial demonstrate that the defendant drove to a property owned by Lombardozzi
shortly after the robbery-murder. Following his crimes, the defendant remained in close
contact with Lombardozzi, with approximately 73 calls between the two from November 12,
2018 to February 19, 2019 alone, and additional calls leading up to the day of the defendant’s
arrest.

               In addition, up until approximately 2016, the defendant was known to
associate with Eugene “Buster” Russo, a Gambino crime family soldier who ran a gambling
club on Voorhies Avenue in Brooklyn, New York. Indeed, the defendant was interviewed by
the FBI on November 11, 2018, prior to his arrest, and acknowledged that he knew
“Eugene,” also known as “Buster,” who used to have a gambling club on Voorhies Avenue
in Brooklyn. The defendant indicated that he used to go to the club to visit Buster, but would
not gamble there.

              2.     The Defendant’s Involvement in Loansharking and Debt Collection

            The defendant also engaged in loansharking himself. For example, John Doe,
who was prepared to testify at trial, met the defendant when John Doe was working at

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       In 2011, Daniel Marino was convicted of conspiracy to murder a witness in United States
v. Marino, 09-CR-1243 (S.D.N.Y.).
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       In 2003, George Lombardozzi was convicted following a jury trial of extortionate
extension and collection of credit. United States v. Lombardozzi, 02-CR-273 (S.D.N.Y.).


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Russo’s illegal gambling club. According to Doe, the defendant would play cards
approximately four-days per week and assist the club owner by getting games started. At
one point, the defendant informed John Doe that he had received a financial settlement in
connection with an injury and offered to loan John Doe money. John Doe borrowed money
from the defendant and paid “three points,” meaning that he was required to pay three
percent interest each week, which did not reduce the principal. At first, John Doe borrowed
$1,000 from the defendant, which he eventually repaid after paying three points for multiple
weeks. John Doe later borrowed $2,000 from the defendant, which John Doe used to
gamble, and again was required by the defendant to pay three points per week. John Doe
was able to repay this loan after paying three points for multiple weeks. Finally, John Doe
borrowed $5,000 from the defendant. John Doe lost the money gambling and was unable to
repay the debt. Thereafter, for a significant period of time, John Doe paid the defendant
three points, or $150 per week, without reducing the principal. Eventually, John Doe was
unable to come up with the interest payments and stopped paying the defendant. PSR ¶ 9.

               After several months without paying, the defendant told John Doe that the debt
had increased to $10,000. In an attempt to earn money to be able to pay the defendant, John
Doe began operating an illegal gambling business with the defendant. John Doe had a
“sports sheet” with the defendant, meaning that gamblers would place bets on which the
defendant served as the “bank,” i.e., the defendant took in money when the gamblers lost and
paid out when the gamblers won. John Doe assisted the defendant by recruiting gamblers
and physically collecting money from losing bettors, which he provided to the defendant, and
delivering money, provided by the defendant, to winners. John Doe would keep
approximately 25% of the profit from the gambling operation and give the rest to the
defendant. PSR ¶ 10.

                Despite John Doe’s efforts to repay the debt through the profits from the
gambling operation, the defendant continued to try to collect from John Doe. At one point in
2016, the two met at a bar on Nostrand Avenue in Brooklyn and the defendant threatened
John Doe with a gun while demanding repayment. John Doe later went to the police station
to report the incident. To John Doe’s dismay, one of the detectives called the defendant and
informed him of what John Doe had reported. In speaking to a detective, the defendant
laughed when asked about loansharking and John Doe. The defendant then acknowledged
the loan and indicated that he did not think he would see “the $10,000” again. The defendant
indicated that he knew John Doe was “getting in too deep” and did not want to see him get
hurt. He further acknowledged that John Doe had been paying him $300 per week, but that
the payments had waned off. Finally, the defendant admitted that there had been an
argument and that he had called John Doe a “deadbeat.” PSR ¶ 11.

              The PSR further includes information from two witnesses, in addition to Doe,
about the defendant using threats to collect gambling debts and, consistent with information
provided by Doe, the defendant’s additional attempts to run his own loansharking business. PSR
¶ 12.




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II.    Guidelines Range and PSR Objections

               The defendant faces a statutory mandatory minimum sentence of 10 years and
a maximum sentence of life on Count Two, discharging a firearm during a crime of violence,
in violation of 18 U.S.C. § 924(c)(1)(A)(iii). He also has a maximum sentence of life for
Count One, Hobbs Act robbery, and Count Three, causing death through use of a firearm.

               The Probation Department has calculated that the defendant has a Base
Offense Level of 43 as to Counts One and Three, and a Criminal History Category of one.
PSR ¶ 68. This carries a guideline imprisonment range of life. Id. The government agrees
with these calculations, as does the defendant.

                The defendant objects to paragraphs 9-13 of the PSR, but has provided no
factual basis to support such objections. 4 Accordingly, there is no need for an amendment on
these points. In any event, while the defendant’s uncharged criminal conduct is clearly an
aggravating factor and may warrant an upward departure (PSR ¶ 81), the defendant already
has the maximum base offense level—43—and a Guidelines sentence of life imprisonment is
appropriate even without the Court making findings as to the defendant’s uncharged criminal
conduct.

                The defendant also argues that an enhancement for obstruction does not apply
because his false statements to the FBI were not “material.” According to United States
Sentencing Guidelines (“U.S.S.G.”) § 3C1.1, cmt. n. 4(G), an adjustment for obstruction
applies if the defendant “provid[ed] a materially false statement to a law enforcement officer
that significantly obstructed or impeded the official investigation or prosecution of the instant
offense.” Owing, in part, to his false statements, the defendant remained at liberty for five
months during the FBI’s investigation. The defendant’s false statements to law enforcement,
see infra at Section I.3, satisfy the materiality standard and therefore warrant application of
the obstruction enhancement. See e.g., United States v. Feliz, 286 F.3d 118, 121 (2d Cir.
2002) (engaging in scheme to provide false alibi to law enforcement supported application of
obstruction enhancement). As with the defendant’s uncharged conduct described above,
while the defendant’s obstruction is clearly an aggravating factor and may warrant an
adjustment or enhancement (see Addendum 2), the defendant has the maximum base offense
level—43—and a Guidelines sentence of life imprisonment is appropriate even without the
Court making findings as to the obstructive conduct in which the defendant engaged.

III.   Restitution

                The government notes that, while Probation has listed in Addenda One and
Two financial losses suffered by the victim’s family members, it has not taken a position as
to the correct restitution amount. The government is further assessing the legal and factual
bases for restitution and will supplement this submission accordingly. The government

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             The defendant did not object to the PSR within 14 days of receipt, as required
by Federal Rule of Criminal Procedure Rule 32(f)(1).


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respectfully requests that any restitution order be entered within 90 days after sentencing as
is permitted by law. PSR ¶ 78.

IV.    Discussion: Life Imprisonment is Warranted in this Case

                It is settled law that a sentencing court should “consider all of the § 3553(a)
factors to determine whether they support the sentence requested by a party. In so doing, [it]
may not presume that the Guidelines range is reasonable. [It] must make an individualized
assessment based on the facts presented.” Gall v. United States, 552 U.S. 38, 49-50 (2007)
(citation and footnote omitted). Title 18, United States Code, Section 3553(a) provides, in
part, that in imposing sentence, the Court shall consider:
       (1) the nature and circumstances of the offense and the history and characteristics of
       the defendant; [and]
       (2) the need for the sentence imposed—
              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;
              (B) to afford adequate deterrence to criminal conduct; [and]
              (C) to protect the public from further crimes of the defendant.
               The nature and circumstances of the instant offenses, see 18 U.S.C.
§ 3553(a)(1), are extremely serious. The defendant participated in the cold-blooded,
execution-style murder of Vincent Zito. The defendant murdered his close friend for
greed—specifically, in order to avoid returning a sum of money he was holding for the
victim and to steal from his loansharking business. The victim’s body was discovered by his
11-year-old grandson. In a particularly cruel twist, the defendant then pretended to console
the victim’s family on the night of the murder while gathering information about the
investigation.
                Based on the premeditated and heinous nature of the murder, the Guidelines
call for life imprisonment. If ever there were a case where a Guidelines sentence is
appropriate, this is it. The defendant does not even attempt to dispute that. There are no
mitigating circumstances about the defendant’s background or conduct that would support a
downward departure. To the contrary, there are a number of aggravating circumstances
present that make this case worse than even most premediated murders that result in a
Guidelines sentence of life imprisonment.
             First, the murder of the defendant’s frail, elderly friend was callous, cold-
blooded and motivated by greed. The defendant knew the victim’s family, which had
welcomed him into their home; he knew the anguish this murder would cause—and he did it
anyway, for money.
               Second, unlike many defendants charged with similar crimes, the defendant
did not face adversity in his youth, or even in his adulthood. The defendant had an average,


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middle-class life with no extraordinary hardship. The defendant simply believed he could
get away with murder, and he tried to just that. He then attempted a cover up and he lied,
including to the FBI and now to the Court.
                Third, the only suggestion the defendant makes as to a mitigating circumstance
is that his health is in poor condition given his age. By that logic, the defendant argues that
he should be punished less severely than more youthful offenders. In fact, the defendant’s
age, relative maturity, and life position make clear that the murder of his friend was cold and
calculated. Moreover, the defendant’s health is similar now to when he committed this brutal
murder, and no health limitations prevented him from doing that. The defendant’s age and
life experience should be considered an aggravating factor, not the other way around.
                Fourth, there is no indication that the defendant has accepted responsibility for
his actions, or that he has any genuine remorse for the murder he committed. He is capable
of doing it again. This makes clear that incapacitation is warranted.

               Fifth, general deterrence calls for a life sentence for this premeditated murder
of one of the defendant’s closest friends for money—without any mitigating circumstances.
The message must be clear that resorting to murder is unacceptable for anyone, let alone
someone in the defendant’s position.

              Sixth, the severe penalty called for by the Guidelines is required to bring a
measure of justice to the defendant’s victims, who have explained their grief in detail
through victim impact statements which are included in the PSR, and to the community.

V.     Conclusion

             For the foregoing reasons, the Court should sentence the defendant to life
imprisonment.


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

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cc:    Clerk of Court (MKB) (by ECF)
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